




Dismissed and Memorandum Opinion filed October 2, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed October 2, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00729-CR

____________

&nbsp;

RONALD WIDEMAN,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 241st District
Court

Smith County, Texas

Trial Court Cause No.
241-2283-07

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not issued an
opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed October 2, 2008.

Panel consists of Chief Justice
Hedges, Justices Anderson and Frost.

Do not publish C Tex.
R. App. P. 47.2(b).





